   Case 1:07-cr-00216-PLM ECF No. 37, PageID.244 Filed 02/18/20 Page 1 of 4                        (1 of 4)




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
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                                     Filed: February 18, 2020




Mr. Eddie Jerome Mills
U.S.P. Allenwood
P.O. Box 3000
White Deer, PA 17887

                     Re: Case No. 19-2358, In re: Eddie Mills
                         Originating Case No.: 1:07-cr-00216-1; 1:07-cr-00007-1; 1:16-cv-00861; 1:16-cv-00862

Dear Mr. Mills,

  The Court issued the enclosed Order today in this case.

                                                 Sincerely,

                                                 s/Antoinette Macon
                                                 Case Manager
                                                 Direct Dial No. 513-564-7015

cc: Mr. Thomas Dorwin
    Ms. Jennifer Lee McManus

Enclosure

No mandate to issue
   Case 1:07-cr-00216-PLM ECF No. 37, PageID.245 Filed 02/18/20 Page 2 of 4                             (2 of 4)



                                           No. 19-2358
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                           UNITED STATES COURT OF APPEALS                         )HE
                                FOR THE SIXTH CIRCUIT                        '(%25$+6+817&OHUN


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                                                         )
In re: EDDIE JEROME MILLS,                               )
                                                         )           ORDER
       Movant.                                           )
                                                         )
                                                         )


       Before: MOORE, GILMAN, and ROGERS, Circuit Judges.


       Eddie Jerome Mills, a pro se federal prisoner, moves this court for an order authorizing the
district court to consider a second or successive 28 U.S.C. § 2255 motion to vacate, set aside, or
correct his sentence. See 28 U.S.C. § 2255(h).
       In 2007, Mills jointly pleaded guilty in two separate cases to three counts of armed bank
robbery, in violation of 18 U.S.C. § 2113(a), (d), and (f); two counts of armed credit-union robbery,
in violation of 18 U.S.C. § 2113(a), (d), and (g); and one count of brandishing a firearm during a
crime of violence, in violation of 18 U.S.C. § 924(c). The district court sentenced Mills to a total
of 252 months of imprisonment on the armed-robbery counts, to be served consecutively to 84
months of imprisonment on the brandishing-a-firearm count, followed by five years of supervised
release. Mills did not appeal.
       In 2016, Mills filed a § 2255 motion, which the district court denied. Mills did not appeal
that denial. In 2017, Mills sought authorization to file a second or successive § 2255 motion,
which this court denied. See In re Mills, No. 17-2382 (6th Cir. Apr. 5, 2018) (order).
       In 2018, Mills filed a second motion for authorization to file a second or successive § 2255
motion, in which he argued that § 924(c)(3)(B)’s “residual clause,” which provides one of the two
definitions for a “crime of violence,” was unconstitutionally vague. We acknowledged that the
constitutionality of § 924(c)(3)(B)’s residual clause was under consideration by the Supreme Court
   Case 1:07-cr-00216-PLM ECF No. 37, PageID.246 Filed 02/18/20 Page 3 of 4                             (3 of 4)
                                             No. 19-2358
                                                 -2-

at the time, but determined that the resolution of that question would have no effect on his
convictions. Instead, this court held that his convictions for armed bank robbery and armed credit-
union robbery qualified as crimes of violence under the “use of force” clause of 18 U.S.C.
§ 924(c)(3)(A). In re Mills, No. 18-2150 (6th Cir. Feb. 15, 2019) (order). The Supreme Court has
since held that the residual clause of § 924(c)(3)(B) is unconstitutionally vague. Davis v. United
States, 139 S. Ct. 2319 (2019).
       Mills now moves this court for the third time for authorization to file a second or successive
§ 2255 motion, proposing to raise claims that his § 924(c) conviction is invalid in light of Davis.
He claims that the predicate crime of violence for his § 924(c) conviction is conspiracy to commit
armed bank robbery, in violation of 18 U.S.C. § 371, which he argues could satisfy only the now-
invalidated residual clause. He also asserts that armed bank robbery does not qualify as a crime
of violence under the use-of-force clause.
       We may authorize the filing of a second or successive § 2255 motion when the applicant
makes a prima facie showing that his proposed claim contains: (1) “newly discovered evidence
that, if proven and viewed in light of the evidence as a whole, would be sufficient to establish by
clear and convincing evidence that no reasonable factfinder would have found the movant guilty
of the offense”; or (2) “a new rule of constitutional law, made retroactive to cases on collateral
review by the Supreme Court, that was previously unavailable.” 28 U.S.C. § 2255(h); see 28
U.S.C. § 2244(b)(3)(C). Mills does not present any newly discovered evidence, and he premises
his claim only on a new rule of constitutional law.
       Mills fails to make a prima facie showing because the holding in Davis has no effect on his
convictions or sentence. He was convicted of multiple counts of armed bank robbery, in violation
of § 2113(a), (d), and (f), and armed credit-union robbery, in violation of § 2113(a), (d), and (g).
According to the indictment, his § 924(c) conviction was predicated on one of the counts of armed
credit-union robbery. Mills’s indictment, amended plea agreement, and amended judgment do not
reflect that his § 924(c) conviction was predicated on a conspiracy count in this case. As we
explained in denying Mills’s last motion for authorization, § 2113(a) qualifies as a crime of
   Case 1:07-cr-00216-PLM ECF No. 37, PageID.247 Filed 02/18/20 Page 4 of 4                            (4 of 4)
                                           No. 19-2358
                                               -3-

violence under the use-of-force clause of § 924(c)(3)(A). See United States v. Henry, 722 F. App’x
496, 500 (6th Cir.), cert. denied, 139 S. Ct. 70 (2018); see also United States v. McBride, 826 F.3d
293, 296 (6th Cir. 2016) (analyzing the use-of-force clause of USSG § 4B1.2(a)(1)). Moreover,
other circuits have determined that § 2113(d)—adding an additional punishment for putting in
jeopardy the life of any person by the use of a dangerous weapon or device—qualifies as a crime
of violence under § 924(c)(3)(A). See United States v. Johnson, 899 F.3d 191, 202-04 (3d Cir.),
cert. denied, 139 S. Ct. 647 (2018); United States v. Watson, 881 F.3d 782, 784-86 (9th Cir. 2018);
United States v. Armour, 840 F.3d 904, 907-09 (7th Cir. 2016); In re Hines, 824 F.3d 1334, 1337
(11th Cir. 2016) (per curiam).
       Accordingly, Mills’s motion for leave to file a second or successive § 2255 motion is
DENIED.




                                              ENTERED BY ORDER OF THE COURT




                                              Deborah S. Hunt, Clerk
